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           EXHIBIT D
   Case 4:22-cv-03359 Document 75-4 Filed on 06/16/23 in TXSD Page 2 of 27
                       Hays Financial Consulting, LLC
                                       2964 Peachtree Road
                                             Suite 555
                                      Atlanta, GA 30305-2153

SEC v CryptoFX
John Lewis, Receiver



                            For the Period from    1/1/2023    to 3/31/2023

 April 28, 2023




            Professional Services

                                                                              Hours      Amount

            Accounting                                                          7.40     2,042.40
            Asset Analysis & Recovery                                          58.50   15,355.20
            Asset Disposition                                                   2.40       722.60
            Business Analysis                                                  88.10   17,218.40
            Business Operations                                                 1.50       482.80
            Case Administration                                                42.80   14,093.00
            Claims Administration & Objections                                  1.10       398.20
            Data Analysis                                                      59.30   16,071.40
            Employee Benefits / Pensions                                        5.70     1,232.60
            Fee / Employment Applications & Objection                          14.10 NO CHARGE
            Forensic Accounting                                                34.40   10,403.80
            Litigation Consulting                                              60.60   19,993.60
            Status Reports                                                      9.50     3,249.80
            Tax Issues                                                          5.60     1,545.60
              For professional services rendered                              391.00 $102,809.40

            Additional Charges :

            Online & Other Research/Reports                                               258.75
            Tax Return Filing Fees                                                         70.00
              Total costs                                                                $328.75


              Total amount of this bill                                               $103,138.15
   Case 4:22-cv-03359 Document 75-4 Filed on 06/16/23 in TXSD Page 3 of 27
                       Hays Financial Consulting, LLC
                                              2964 Peachtree Road
                                                    Suite 555
                                             Atlanta, GA 30305-2153

SEC v CryptoFX
John Lewis, Receiver



                                    For the Period from           1/1/2023   to 3/31/2023

 April 28, 2023




            Professional Services

                                                                                         Hrs/Rate            Amount

            Dwaine A. Butler                                                               106.50          18,003.00
                                                                                         169.04/hr
            James R. Jennings, CPA                                                            1.60             441.60
                                                                                         276.00/hr
            S. Gregory Hays, CTP, CIRA                                                     127.40           42,136.80
                                                                                         330.74/hr
            Scott S. Askue                                                                 155.50           42,228.00
                                                                                         271.56/hr
               For professional services rendered                                           391.00       $102,809.40

            Additional Charges :

            Online & Other Research/Reports                                                                    258.75
            Tax Return Filing Fees                                                                              70.00
               Total costs                                                                                    $328.75


               Total amount of this bill                                                                 $103,138.15




          CFE - Certified Fraud Examiner                                     CPA - Certified Public Accountant
          CIRA - Certified Insolvency and Restructuring Advisor              PHR - Professional in Human Resources
          CTP - Certified Turnaround Professional
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                       Hays Financial Consulting, LLC
                                       2964 Peachtree Road
                                             Suite 555
                                      Atlanta, GA 30305-2153

SEC v CryptoFX
John Lewis, Receiver



                             For the Period from    1/1/2023    to 3/31/2023
 April 28, 2023




            Professional Services

                                                                            Hrs/Rate       Amount

              Accounting

 1/11/2023 SSA    Drafted email to banking representative regarding              0.20        55.20
                  account ledger.                                              276.00/hr
 1/12/2023 SSA    Reviewed report of receivership transactions. Drafted          0.40       110.40
                  email to the Receiver regarding transfer of funds            276.00/hr
                  between accounts.
            SSA   Prepared updated analysis of receiver assets and               1.30       358.80
                  recoveries through December 2022.                            276.00/hr
            SSA   Set up and prepared SFAR though December 2022.                 2.30       634.80
                                                                               276.00/hr
 1/19/2023 SSA    Reviewed response to email from the Receiver                   0.40       110.40
                  regarding sources and uses of investor funds.                276.00/hr
 1/30/2023 SSA    Verified monthly allowance payment to Defendant                0.20        55.20
                  Benvenuto. Drafted email to the Receiver regarding           276.00/hr
                  same.
  3/2/2023 SSA    Reviewed Angelica Vargas' bank records for sources             1.10       303.60
                  of funds. Reviewed budget prepared by Mauricio               276.00/hr
                  Chavez. Drafted email to Sonila Themeli regarding
                  issues for hearing.
            SSA   Drafted email to Paul Flack regarding wire instructions        0.30        82.80
                  for return of retainer. Drafted email to Sonila Themeli      276.00/hr
                  regarding source of funds.
 3/24/2023 SSA    Prepared fee payment allocation among defendant                0.60       165.60
                  accounts. Drafted emails to and reviewed emails from         276.00/hr
                  bank representative and Receiver regarding wire
                  transfers.
 3/28/2023 SSA    Prepared template for payment of professional fees             0.30        82.80
                  from each Defendant account.                                 276.00/hr
 3/29/2023 SSA    Prepared updated wire instructions for Receiver's new          0.30        82.80
                  bank account. Drafted email to closing attorney for          276.00/hr
                  Hogan Lane property.

                  Subtotal                                                       7.40      2,042.40

              Asset Analysis & Recovery

  1/3/2023 SSA    Reviewed appraisal of Waller County property and               1.20       331.20
                  reviewed purchase documents for same. Drafted email          276.00/hr
                  on discrepancy.
 1/13/2023 SSA    Reviewed value of holdings at Exodus and updated               0.20        55.20
                  recovery analysis with same.                                 276.00/hr
 1/17/2023 SSA    Researched for information relating to Ebenezer                2.30       634.80
                  Construction and involvement in Waller County                276.00/hr
                  properties.
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                                                                           Hrs/Rate          Amount

 1/20/2023 SSA   Reviewed documents produced by Angelina Vargas                0.60           165.60
                 and researched for purchase of vehicles.                    276.00/hr
 1/23/2023 SGH   Research regarding the seller of the real property in         1.50           543.00
                 Waller County for $2.0 million to CBT Group when            362.00/hr
                 current value is $1.0. Drafted several emails regarding
                 same. Reviewed reports and sale contract and legal
                 description. Research regarding prior owner Odis
                 Styers. Drafted email regarding additional research to
                 Sonila Themeli and Dwaine Butler
          DAB    Discussed issues with Greg Hays regarding sale of             0.80           136.00
                 property by Odis Styles III. Researched idiCore for         170.00/hr
                 agent information. Reviewed and responded to emails
                 from Mr. Hays regarding same. Reviewed county
                 property records for the property and ownership
                 information. Verified ownership of properties.
          SSA    Reviewed for information relating to Waller County real       0.10            27.60
                 property purchases.                                         276.00/hr
 1/27/2023 SGH   Reviewed information regarding Santander and the car          0.40           144.80
                 loans. Email to Sonila Themeli regarding same.              362.00/hr
  2/1/2023 SGH   Reviewed documents produced by PLS Financial                  3.00          1,086.00
                 Services. Researched information and lawsuits against       362.00/hr
                 PLS. Reviewed financial information and daily volume
                 of money order purchased in 2021. On some days
                 over $60K was purchased in Money Order. Drafted
                 email to the Receiver and Sonila Themeli regarding
                 potential issues with PLS and possible claims. Drafted
                 email to James Daniels regarding money order issue.
          SSA    Reviewed insurance policy and other issues relating to        1.60           441.60
                 vehicles. Researched for purchase documents.                276.00/hr
                 Prepared analysis of same.
          SSA    Researched for invoices, payments and relating real           1.20           331.20
                 property issues relating to payments to Ebenezer            276.00/hr
                 Construction. Drafted emails to Kierra Powell
                 regarding same.
  2/2/2023 SGH   Research in Relativity regarding PLS, Barri and               2.00           724.00
                 Western Union Money Order. Drafted email to                 362.00/hr
                 Receiver Team regarding issue and procedures in
                 money order and the issues on check where Payee is
                 not name. There are almost $1 million in Money
                 Orders with no Payee.
          SGH    Reviewed regarding money order and remittance                 0.80           289.60
                 transfers. Drafted email to Receiver Team regarding         362.00/hr
                 same.
          SSA    Reviewed data provided by PLS and formatted for               2.20           607.20
                 analysis. Prepared summary of transactions.                 276.00/hr
          DAB    Researched Relativity for money order and transaction         1.60           272.00
                 detail. Reviewed WhatsApp messages for references           170.00/hr
                 to money orders and cashier's check. Continued to
                 review money order receipt detail for transaction
                 information.
  2/3/2023 SGH   Additional research regarding Money Orders, PLS, and          0.70           253.40
                 the replacement vendor after October 2021 when CFX          362.00/hr
                 discontinued issuing Money Orders.
          DAB    Reviewed emails from the Receiver and Greg Hays               2.20           374.00
                 regarding potential claim against PLS. Continued            170.00/hr
                 research of money order transactions in Relativity.
                 Discussed issues with Mr. Hays regarding WhatsApp
                 communications regarding money orders.
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                                                                          Hrs/Rate          Amount

  2/6/2023 SSA   Researched for ownership of property by Ismael               3.20           883.20
                 Sanchez in Conroe Texas and transfer of same.              276.00/hr
                 Reviewed for transactions and correspondences in
                 CryptoFX files.
  2/7/2023 SSA   Reviewed for additional information regarding Ismael         0.40           110.40
                 Sanchez and purchase of property.                          276.00/hr
           DAB   Reviewed Relativity for information regarding money          1.10           187.00
                 order and cashier check transactions. Researched           170.00/hr
                 correspondence regarding PLS information.
  2/8/2023 SSA   Reviewed and responded to email from Kierra Powell           0.30            82.80
                 regarding 2493 Tidmor Lane property.                       276.00/hr
           DAB   Researched Relativity for money order purchase and           0.60           102.00
                 distribution information.                                  170.00/hr
 2/10/2023 DAB   Reviewed emails from Kierra Powell and Sonila                1.40           238.00
                 Themeli regarding money order law and reference to         170.00/hr
                 money order regulations. Researched same.
                 Discussed issues with Greg Hays regarding recovery
                 and review of money order correspondence.
           SSA   Reviewed for identifying information relating to             0.70           193.20
                 purchase of Knollwood property.                            276.00/hr
 2/14/2023 SSA   Traced funds used to purchase real properties and            2.60           717.60
                 funds transferred to related entities for expansion of     276.00/hr
                 receivership. Researched for supporting documents
                 for same.
           DAB   Discussed issues with Greg Hays regarding research           0.80           136.00
                 of PLS information. Continued to review Relativity and     170.00/hr
                 compare financial documents.
 2/16/2023 DAB   Reviewed for PLS data in Relativity.                         0.60           102.00
                                                                            170.00/hr
 2/20/2023 SGH Reviewed issues and drafted email to Caroline Gieser           0.40           144.80
               regarding PLS and research we had done.                      362.00/hr
           DAB Discussed issues with Greg Hays regarding research             0.70           119.00
               and discovery of PLS money laundering issue.                 170.00/hr
               Reviewed Relativity and SalesForce data for
               information.
 2/21/2023 SSA Reviewed and researched for information relating to            2.60           717.60
               purchase of Knollwood property, source of funds for          276.00/hr
               same and supporting documents for addition of Aspire
               Living to receivership.
 2/23/2023 SSA Finalized researched regarding purchase of real                5.10          1,407.60
               properties. Compiled documents regarding same.               276.00/hr
               Drafted emails regarding findings. Telephone call from
               Sonila Themeli regarding same.
 2/27/2023 DAB Continued to research PLS information in Salesforce            0.90           153.00
               data.                                                        170.00/hr
 2/28/2023 SSA Reviewed documents provided by Providence Title.               2.10           579.60
               Drafted email with findings.                                 276.00/hr
           DAB Reviewed Salesforce data for money order and                   0.80           136.00
               cashier check transactions. Reviewed PLS                     170.00/hr
               information and researched business computer
               purchases. Reviewed computer inventory database
               and researched in Relativity.
           SSA Researched for and drafted email to Kierra Powell              0.40           110.40
               regarding 28 Marshall purchase and current value.            276.00/hr
  3/1/2023 DAB Reviewed Relativity for Crypto FX transactions.                1.30           221.00
               Researched Binance and Metedex searches for                  170.00/hr
               identification of transfers. Drafted email to and
               reviewed from Greg Hays regarding same.
  3/2/2023 SSA Reviewed and traced investor funds used to purchase            5.30          1,462.80
               the Polaris property.                                        276.00/hr
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                                                                            Hrs/Rate           Amount

 3/21/2023 DAB Relativity research. Reviewed keyword search of PLS              1.80            306.00
               and Metadex. Reviewed information and spreadsheet              170.00/hr
               with information containing transaction detail and daily
               sales.
 3/29/2023 SSA Reviewed documents produced by Styers relating to                1.20            331.20
               purchase of property and relationship with CBT.                276.00/hr
               Drafted notes on same.
 3/31/2023 SSA Compiled data relating to Luxury Real Estate receipts            1.80            496.80
               from investors and purchase of real property.                  276.00/hr

                  Subtotal                                                     58.50          15,355.20

              Asset Disposition

 1/13/2023 SSA Drafted email to the Receiver regarding sale of crypto           0.20             55.20
               currencies and method for same.                                276.00/hr
 1/16/2023 SSA Drafted email to the Receiver regarding opening                  0.30             82.80
               trading account for transfer and liquidation of coins.         276.00/hr
 1/23/2023 SGH Reviewed emails regarding real estate appraiser and              0.70            253.40
               issue regarding sale of properties. Research regarding         362.00/hr
               same.
 2/10/2023 SSA Telephone call from Radames Darby regarding setting              0.30             82.80
               up crypto wallet for the Receiver. Drafted email to            276.00/hr
               Blocktrace regarding same.
 2/16/2023 SSA Drafted email to the Receiver regarding liquidation of           0.20             55.20
               Nano Ledger.                                                   276.00/hr
 3/29/2023 SSA Reviewed and responded to email from the Receiver                0.70            193.20
               regarding liquidation of crypto currencies transferred to      276.00/hr
               Coinbase. Drafted letter to Coinbase with instruction
               for liquidation of holdings. Drafted wire instructions for
               proceeds.

                  Subtotal                                                      2.40            722.60

              Business Analysis

  1/3/2023 DAB Discussed issues with Greg Hays regarding leader                 0.70            119.00
               research, update of mailing addresses, and draft of            170.00/hr
               leader database schedule. Continued to update leader
               detail and noted specific transactions.
  1/4/2023 DAB Researched Relativity for leader information.                    1.70            289.00
               Reviewed emails and leader lists via Relativity search.        170.00/hr
               Verified social security and addresses via scanned
               documents. Indexed documents as reference.
  1/5/2023 DAB Continued to research specific leader bonus structure            1.40            238.00
               documents and information regarding designated                 170.00/hr
               leader states. Updated leader analysis with detail.
  1/6/2023 DAB Reviewed Relativity portal and researched leader and             1.80            306.00
               employee identification documents for distribution of          170.00/hr
               sponsor letters to appropriate parties. Continued to
               update draft leader schedule and supporting detail.
               Discussed issues with Greg Hays regarding review of
               bonus and commission structure chart.
           SSA Prepared list of leaders from Defendant records.                 0.40            110.40
                                                                              276.00/hr
  1/9/2023 DAB Continued to research several leaders information via            2.40            408.00
               Relativity and online sources. Input address and email         170.00/hr
               addresses for identified leaders. Reviewed and
               responded to several emails from Greg Hays and
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                                                                            Hrs/Rate          Amount

                 Sonila Themeli regarding verification of leader and
                 employee information. Identified Chicago leaders and
                 input information.
 1/10/2023 DAB   Discussed issues with Greg Hays and Scott Askue                2.40           408.00
                 regarding recovery of leader addresses and research          170.00/hr
                 of same. Reviewed Relativity for emails regarding
                 bonus and commission detail. Continued to input
                 information into leader database. Telephone calls to
                 and from Sonila Themeli regarding research efforts
                 and additions to leader list.
 1/11/2023 DAB   Continued to input leader information into spreadsheet         2.80           476.00
                 report. Researched for current leader addresses,             170.00/hr
                 phone numbers, and social security information.
                 Telephone call from Sonila Themeli regarding
                 additional leader list and input of new of new
                 information. Reviewed and responded to emails from
                 Greg Hays and Mrs. Themeli regarding same.
          DAB    Continued to update leader information report in               1.20           204.00
                 preparation of mailing to sponsors.                          170.00/hr
          SGH    Review and edit the analysis of all the leaders. Discuss       0.80           289.60
                 the new information with Dwaine Butler and updated to        362.00/hr
                 the leader analysis. Call from Sonila Themeli regarding
                 sending the demand letters to the Sales Agents /
                 Leaders.
 1/12/2023 SGH   Reviewed new information regarding the leaders and             0.30           108.60
                 discussed with Dwaine Butler. Updated the leader list.       362.00/hr
          DAB    Continued to research updated contact information for          2.50           425.00
                 sponsors. Updated chart of known sales agents.               170.00/hr
                 Reviewed email from Mr. Hays regarding new list of
                 potential leaders. Reviewed current roster of leaders
                 and compared to new document listing.
 1/13/2023 DAB   Continued to research missing addresses and contact            1.60           272.00
                 information of verified leaders. Discussed issues with       170.00/hr
                 Greg Hays regarding specific leader detail and review
                 of email addresses. Reviewed IdiCore for additional
                 research efforts.
 1/16/2023 DAB   Updated leaders/sponsors list with current addresses           2.00           340.00
                 from research reports. Drafted emails to and reviewed        170.00/hr
                 emails from Greg Hays and Sonila Themeli regarding
                 same.
 1/17/2023 DAB   Reviewed email from Sonila Themeli regarding                   1.50           255.00
                 sponsor demand letter and distribution of same.              170.00/hr
                 Reviewed updated sponsor list and continued to
                 research address and location of 14 verified sponsors.
 1/18/2023 DAB   Reviewed email from Sonila Themeli regarding draft             0.80           136.00
                 demand letter to CFX sponsors. Reviewed letter.              170.00/hr
                 Reviewed current leader list for the determination of
                 missing leader information. Continued to research
                 idiCore for specific sponsor contact information.
 1/20/2023 SGH   Reviewed analysis of daily activity and considered new         0.50           181.00
                 analysis of outstanding principal for contracts in last      362.00/hr
                 six months.
 1/24/2023 SSA   Reviewed for backup and support documents relating             2.40           662.40
                 to leader transactions.                                      276.00/hr
 1/25/2023 SGH   Reviewed information on commissions paid to leaders            0.40           144.80
                 and Chicago operations with no investments in BTC.           362.00/hr
          DAB    Continued to research relativity for missing sponsor           1.30           221.00
                 contact information. Compared to updated leader list         170.00/hr
                 and updated two contacts with email addresses.
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                                                                          Hrs/Rate          Amount

 1/26/2023 DAB Reviewed and responded to emails from Sonila                   0.80           136.00
               Themeli and Scott Askue regarding research of federal        170.00/hr
               identification numbers for additional entities.
               Reviewed Texas Secretary of State website and
               idiCore for business information. Discussed issues
               with Mr. Askue regarding Notice to entities.
 1/30/2023 DAB Research and review of Relativity to locate leader and         2.20           374.00
               purchased IT inventory information. Discussed issues         170.00/hr
               with Greg Hays regarding research efforts. Updated
               leader/sponsor summary.
 1/31/2023 DAB Discussed issues with Greg Hays regarding status of            0.40            68.00
               leader research and contact information. Reviewed            170.00/hr
               Status Report.
  2/1/2023 DAB Continued to research Relativity for specific leader and       1.60           272.00
               sponsor detail. Reviewed documents for money order           170.00/hr
               transactions in Relativity database.
  2/2/2023 SGH Additional research regarding payment of sale agents           0.80           289.60
               after CFX discontinued using PLS money orders in             362.00/hr
               October 2021. Reviewed Chavez deposition. Drafted
               email regarding same.
           DAB Continued to research correct contact information for          0.70           119.00
               seven remaining leaders. Reviewed and responded to           170.00/hr
               email from Sonila Themeli regarding research efforts.
  2/3/2023 DAB Reviewed emails from the Receiver and Greg Hays                0.30            51.00
               regarding potential claim against leaders. Reviewed          170.00/hr
               and responded to emails from Sonila Themeli
               regarding update of leader addresses. Researched
               idICore and updated list to send demand letters.
  2/7/2023 DAB Reviewed and responded to email from Sonila Themeli            1.80           306.00
               regarding research of ten located phone numbers.             170.00/hr
               Reviewed reverse phone directory in idiCore for
               determination of contact information to correspond
               with phone numbers. Continued to research contact
               information and addresses from the sponsor list.
           DAB Discussed issues with Greg Hays regarding research             0.20            34.00
               of the remaining leader addresses.                           170.00/hr
  2/8/2023 DAB Reviewed and responded to email from Sonila Themeli            0.60           102.00
               regarding extended research of missing leader contact        170.00/hr
               and address information.
  2/9/2023 DAB Researched for leader address and contact                      2.30           391.00
               information. Reviewed Relativity for Claudia                 170.00/hr
               Bustamantes correspondence and leader reference.
               Discussed issues with Greg Hays regarding
               conveyance of demand letters to identified leader
               addresses. Continued to research transaction and
               purchase detail from WhatsApp platform.
           SSA Researched for contract style used by California               1.60           441.60
               leaders still operating. Reviewed for information            276.00/hr
               regarding same.
 2/10/2023 SSA Reviewed contracts with California investors and               2.20           607.20
               leaders. Compared to Salesforce data and issues with         276.00/hr
               analyzing same.
 2/13/2023 DAB Reviewed and responded to email from Sonila Themeli            1.80           306.00
               regarding leader research. Reviewed for Juan Puac            170.00/hr
               information. Reviewed Relativity for communications
               and reference to Mr. Puac. Updated notes with
               current contact information. Reviewed account reports
               in Kiteworks for transaction detail.
 2/14/2023 DAB Researched information for remaining sale agent                1.20           204.00
               addresses and contact information.                           170.00/hr
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                                                                         Hrs/Rate          Amount

 2/15/2023 SGH Researched information on sales agents. Reviewed              0.80           289.60
               new documents uploaded to Kiteworks.                        362.00/hr
           DAB Reviewed email from Sonila Themeli regarding                  0.60           102.00
               research of California sales agent information.             170.00/hr
               Researched idiCore and Relativity for information for
               four individuals.
 2/16/2023 SGH Reviewed new information on sales agents and                  0.40           144.80
               drafted email to Sonila Themeli regarding same.             362.00/hr
           DAB Reviewed and responded to email from Sonila Themeli           1.80           306.00
               regarding review of California sales agent information.     170.00/hr
               Researched location detail and compared to sponsor
               directory spreadsheet. Discussed issues with Greg
               Hays regarding update of sales agent addresses.
               Reviewed updated mailing list.
 2/17/2023 DAB Reviewed and responded to emails from Sonila                  0.70           119.00
               Themeli regarding request for Claudia Bustamante            170.00/hr
               contact and mailing information. Reviewed idiCore
               and researched leader address. Drafted email to Mrs.
               Themeli and Mia Fleming regarding information.
           SSA Researched defendant files for addresses and contact          0.60           165.60
               information for leaders.                                    276.00/hr
 2/21/2023 DAB Reviewed email from Scott Askue regarding recovery            0.80           136.00
               of contact information from Salesforce. Reviewed and        170.00/hr
               researched several Salesforce entries for the
               determination of sales agent location information.
 2/22/2023 DAB Researched SalesForce and PLS data for information            1.80           306.00
               regarding transfers and money order distributions.          170.00/hr
               Continued to research Relativity for sales agent
               information. Reviewed missing mailing addresses and
               researched IdiCore and Relativity database for missing
               information.
 2/23/2023 DAB Reviewed and responded to email from Sonila Themeli           1.60           272.00
               regarding Leticia Rivas and Angel Gonzalez contact          170.00/hr
               and communication efforts. Reviewed idiCore for
               correct contact information and addresses. Discussed
               issues with Greg Hays regarding update of missing
               Illinois sales agent information. Continued to research
               missing documentation and contact information.
  3/2/2023 DAB Reviewed Relativity for information regarding money           0.80           136.00
               order transfers and Metadex information. Reviewed           170.00/hr
               documents for the determination of leader transactions
               and commission structure.
  3/8/2023 DAB Reviewed leader schedule and researched for                   1.20           204.00
               information of nine leaders. Researched idiCore and         170.00/hr
               social media web sites for information.
  3/9/2023 DAB Reviewed Relativity for remaining leader contact              0.80           136.00
               information and transaction detail. Continued to broad      170.00/hr
               search of Metadex and Binance search terms for
               transactions
 3/13/2023 DAB Leader research via Relativity. Compared prior                0.80           136.00
               addresses to addresses in idICore portal. Updated           170.00/hr
               contact detail.
 3/14/2023 DAB Discussed issues with Scott Askue regarding leader            0.20            34.00
               research and identification of assets within case.          170.00/hr
 3/15/2023 DAB Researched Relativity portal for leader fee structure         0.80           136.00
               and transaction detail. Continued to research missing       170.00/hr
               leader contact information. Identified documents for
               additional review.
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                                                                          Hrs/Rate          Amount

 3/16/2023 DAB Reviewed Relativity portal for information regarding           1.60           272.00
               money order purchases and leader commission                  170.00/hr
               structure. Continued to research additional leader
               information for the determination of additional investor
               leads.
 3/20/2023 DAB Reviewed Relativity for leads related to leader                1.80           306.00
               transactions and flow of cash to insiders. Reviewed          170.00/hr
               several spreadsheets with information regarding daily
               revenue and sales.
 3/21/2023 SSA Reviewed documents produced by the Chicago                     1.80           496.80
               leaders. Researched transfer of property and other           276.00/hr
               issues with same.
 3/22/2023 DAB Discussed issues with Scott Askue regarding research           1.70           289.00
               of Google Documents for information related to leader        170.00/hr
               revenue. Reviewed Relativity for information on each
               leader. Continued review of daily sales spreadsheets
               for the determination of leader revenue.
 3/23/2023 DAB Continued to review Relativity for information regarding       1.80           306.00
               leader transactions, purchase orders, and chain of           170.00/hr
               revenue. Researched key words for daily gross sales.
           SSA Reviewed available leader spreadsheets produced and            2.20           607.20
               available in the Defendant's records. Discussed              276.00/hr
               locating additional leader transaction information with
               Dwaine Butler.
 3/24/2023 DAB Reviewed and responded to emails from Scott Askue              2.40           408.00
               regarding search for leader revenue spreadsheets.            170.00/hr
               Reviewed Gloria Castanda "nuevos ingresos"
               spreadsheet and searched Relativity for other leader
               spreadsheets.
 3/27/2023 SSA Drafted emails regarding leader tracking spreadsheets.         0.20            55.20
                                                                            276.00/hr
           DAB Continued Relativity research for leader revenue               2.80           476.00
               spreadsheets. Reviewed several revenue and sales             170.00/hr
               charts for the determination of individual leader
               reports. Reviewed and searched Google Drive for
               specific files.
 3/28/2023 DAB Continued the review in Relativity for leader                  1.80           306.00
               spreadsheets and information regarding new revenue           170.00/hr
               detail. Reviewed and responded to emails from Scott
               Askue regarding same.
           DAB Reviewed and responded to several emails from                  3.30           561.00
               Sonila Themeli, Levi Percy, and Greg Hays regarding          170.00/hr
               requests for company Google drive and information
               regarding employee folder access. Continued to
               research Relativity for leader information and new
               revenue spreadsheets for each leader. Discussed
               issues with Scott Askue regarding leader spreadsheet
               identification. Tagged documents for further review.
 3/29/2023 DAB Reviewed information regarding leader revenue and              1.80           306.00
               sale charts for the determination of new revenue.            170.00/hr
               Reviewed Relativity and researched spreadsheet for
               the determination of individual leader spreadsheets.
           DAB Continued Relativity review and research for leader            0.70           119.00
               information and revenue reports.                             170.00/hr
 3/30/2023 SSA Reviewed for additional data on leader transactions            2.20           607.20
               and corresponding investor data.                             276.00/hr
           DAB Continued research of leader spreadsheets and new              0.60           102.00
               revenue documentation.                                       170.00/hr
 3/31/2023 SSA Drafted email to Greg Hays regarding leader data and           0.30            82.80
               additional required information.                             276.00/hr
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                                                                           Hrs/Rate           Amount


                 Subtotal                                                     88.10          17,218.40

             Business Operations

  1/6/2023 SGH Reviewed information regarding the Chicago leaders              0.40            144.80
               and on-going fraud in that market. Drafted email to           362.00/hr
               Dwaine Butler regarding same and updated the
               leaders schedule.
  2/3/2023 SGH Reviewed email regarding Ring Central phone                     0.40            144.80
               numbers and on-going fraud. Reviewed                          362.00/hr
               communications to investors.
           SSA Reviewed and responded to email from the Receiver               0.30             82.80
               regarding continuing operations of the Defendants.            276.00/hr
           SSA Reviewed for contact information for telephone service          0.40            110.40
               in Defendant records. Drafted email to Valerie Hays           276.00/hr
               regarding same.

                 Subtotal                                                      1.50            482.80

             Case Administration

  1/3/2023 SSA   Receiver team meeting regarding various case                  1.40            386.40
                 matters and recoveries.                                     276.00/hr
           SGH   Participated in the weekly Receiver team conference           1.40            506.80
                 call to discuss plans for the week and pending matters      362.00/hr
                 including action against sales agents, motion to
                 expand receivership and other issues.
           SGH   Reviewed issues regarding the Receiver's web site             0.40            144.80
                 and drafted email to Lisa Fern regarding updates to         362.00/hr
                 the website to keep investor informed.
           SGH   Organized documents from recent filings and prepared          1.20            434.40
                 project list of issue to research.                          362.00/hr
  1/6/2023 SGH   Reviewed updated files in Kiteworks that included             0.80            289.60
                 recording from calls from investors. Drafted email to       362.00/hr
                 Sonila Themeli regarding the call from the police
                 department in Illinois. Corresponded with Sonila
                 Themeli regarding updated message to investor and
                 directing them to the website.
           SGH   Corresponded with Lisa Ferm regarding updates to              0.30            108.60
                 Receiver's web site.                                        362.00/hr
 1/13/2023 SSA   Reviewed and responded email from the Receiver and            0.30             82.80
                 Sonila Themeli regarding requests from Mr. Chavez           276.00/hr
                 and websites update.
 1/17/2023 SGH   Participated in the weekly Receiver Team Zoom                 1.40            506.80
                 conference call. Discussed issues including recovery        362.00/hr
                 from sales agents, motion to expand receivership,
                 asset sales, website updates, Salesforce data,
                 document depository, discovery, Ponzi report.
           SGH   Reviewed and edited the Receiver's Plan of                    0.50            181.00
                 Liquidation. Email regarding same.                          362.00/hr
           SSA   Telephone conference with Receiver Team regarding             1.40            386.40
                 sales agents claims, motion to expand receivership,         276.00/hr
                 asset sales, Salesforce data and other issues.
 1/19/2023 SGH   Reviewed and made recommendations for updates to              0.30            108.60
                 website. Corresponded with Lisa Fern.                       362.00/hr
           SGH   Reviewed and responded to emails on wide variety of           1.30            470.60
                 issues including recovery of cars, sale of real estate,     362.00/hr
                 sales agents, on-going fraud in Chicago, subpoenas,
                 and other matters.
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                                                                           Hrs/Rate          Amount

 1/19/2023 SSA   Reviewed and responded to email from Sonila Themeli           0.30            82.80
                 regarding information for liquidation plan.                 276.00/hr
 1/20/2023 SGH   Reviewed docket activity and Plan filed. Reviewed             0.40           144.80
                 issues regarding website. Drafted email regarding           362.00/hr
                 claims on website.
 1/23/2023 SGH   Weekly conference call with Sonila Themeli, Scott             1.20           434.40
                 Askue, and Kierra Powell regarding pending matters          362.00/hr
                 including: next report due 1/30/23, Salesforce, sale of
                 real property, liquidation of BTC, report form
                 Blocktrace, recovery from sales agents, recovery of
                 computer, etc.
          SGH    Reviewed email regarding invoice from Frank Sodetz            0.20            72.40
                 for Chicago work and email to Sonila Themeli                362.00/hr
                 regarding payment of invoice.
          SSA    Weekly conference call with receiver team regarding           1.20           331.20
                 pending matters.                                            276.00/hr
 1/24/2023 SGH   Reviewed issues regarding information on website and          0.30           108.60
                 email to update the website for investor                    362.00/hr
                 communications. Tested new additions to website.
          SGH    Reviewed and responded to wide variety of emails on           0.70           253.40
                 asset sale, news, Chavez money request, and other           362.00/hr
                 issues. Research issues regarding objection to
                 Defendant's fund request. Corresponded with Receiver
                 and Sonila Themeli regarding same.
          SSA    Reviewed blog posts relating to investor issues.              0.30            82.80
                 Drafted email to the Receiver regarding same.               276.00/hr
 1/25/2023 SGH   Reviewed and responded to emails. Sent email to               0.40           144.80
                 update the website.                                         362.00/hr
          SGH    Researched issues regarding the use of investor funds         0.80           289.60
                 to pay Chavez's legal fees. Researched prior cases          362.00/hr
                 and for information regarding objections to use
                 investors funds to pay Defendant's legal fees.
 1/26/2023 SGH   Researched and drafted email to Receiver and Sonila           1.20           434.40
                 Themeli regarding Defendant's use of investor funds to      362.00/hr
                 pay legal fees. Reviewed pleadings in several case
                 and picked highlights to send to Sonila Themeli for
                 response to Flack's request for legal fees.
 1/27/2023 SGH   Reviewed and responded to emails from Sonila                  0.80           289.60
                 Themeli and the Receiver regarding wide variety of          362.00/hr
                 issues.
          SGH    Researched information regarding Motion to Expand             0.80           289.60
                 the Receivership to include asset and sales agents.         362.00/hr
                 Sent several emails to Sonila Themeli regarding the
                 Motion to Expand the Receivership.
          SGH    Reviewed filed motion and downloaded for posting to           0.20            72.40
                 the Receiver's website.                                     362.00/hr
 1/30/2023 SSA   Weekly team meeting with Receiver and Receiver                1.20           331.20
                 Team regarding case matters, recoveries, depositions        276.00/hr
                 and upcoming issues.
          SGH    Participated in the weekly receiver team conference           1.20           434.40
                 call. Discussed issues regarding Blocktrace crypto          362.00/hr
                 trading report, sale of assets, motion to expand
                 receivership, First Quarterly report and many other
                 issues for this week.
 1/31/2023 SGH   Drafted email to Frank Soetz in Chicago. Drafted              0.40           144.80
                 emails to Blocktrace representatives. Followed-up on        362.00/hr
                 pending matters.
  2/3/2023 SGH   Reviewed and edited letter regarding legal fees and           0.30           108.60
                 Chavez expenses. Corresponded with counsel                  362.00/hr
                 regarding same.
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                                                                           Hrs/Rate          Amount

  2/3/2023 SSA Reviewed and verified content of letter to judge                0.30            82.80
               regarding attorney fees.                                      276.00/hr
  2/6/2023 SGH Participated in the weekly receiver team conference             1.40           506.80
               call and discussed pending matters and plans for the          362.00/hr
               week.
  2/9/2023 SGH Reviewed and responded to email on wide variety of              1.50           543.00
               issues after being out of the office for a week.              362.00/hr
           SGH Participated in Zoom call with investors in Los Angeles.        1.20           434.40
                                                                             362.00/hr
 2/13/2023 SSA   Weekly strategy regarding conference call with                1.80           496.80
                 Receiver and receiver team.                                 276.00/hr
           SGH   Discussion with Scott Askue regarding the Receiver            0.20            72.40
                 team conference call and pending matters.                   362.00/hr
 2/14/2023 SGH   Review and draft email to Sonila Themeli regarding            0.40           144.80
                 motion to expand receivership.                              362.00/hr
 2/16/2023 SGH   Telephone call from the Receiver regarding pending            0.30           108.60
                 matters and administrative issues.                          362.00/hr
           SGH   Researched issues regarding reappointment of                  0.40           144.80
                 Receiver under Section 724 and drafted email to             362.00/hr
                 Sonila Themeli regarding same.
 2/17/2023 SGH   Researched issues regarding the fee cap in other SEC          0.60           217.20
                 cases and email to Receiver and Sonila Themeli              362.00/hr
                 regarding the 60 day fee cap and implied waiver.
 2/20/2023 SGH   Participated in the weekly Receiver Team Zoom call to         1.00           362.00
                 discuss pending duties and assignment. Discussed            362.00/hr
                 PLS complain, Salesforce data, Ponzi Expert report,
                 sale agents, etc.
           SGH   Reviewed email and issues regarding research                  0.20            72.40
                 requested by the Receiver of the on-going fraud.            362.00/hr
           SSA   Video conference with Receiver and Receiver team              1.00           276.00
                 regarding action items and status of pending matters.       276.00/hr
 2/24/2023 SGH   Reviewed receiver procedures motion and drafted               0.40           144.80
                 email to Sonila Themeli and Receiver regarding the          362.00/hr
                 procedures motion to simplify certain filing issues.
 2/27/2023 SSA   Telephone conference with Receiver Team regarding             1.10           303.60
                 case strategy and upcoming matters.                         276.00/hr
           SGH   Participated in the weekly conference call on issues to       1.10           398.20
                 be pursued this week. Discusses all pending matters         362.00/hr
                 and possible litigation and research.
  3/6/2023 SSA   Receiver team meeting about potential litigation and          1.10           303.60
                 other case matters.                                         276.00/hr
           DAB   Discussed issues with Greg Hays regarding current             0.80           136.00
                 case issues, research of Metadex transactions, and          170.00/hr
                 Relativity research. Weekly status call with John
                 Lewis and Scott Askue.
 3/13/2023 SSA   Weekly team meeting with Receiver and team.                   0.30            82.80
                                                                             276.00/hr
           SSA Updated Motion to invest receivership funds with                0.60           165.60
               information regarding recoveries to date. Updated             276.00/hr
               Receiver's recovery report with same.
 3/20/2023 SGH Participated in the weekly Receiver Team conference             1.50           543.00
               call. Reviewed pending matters.                               362.00/hr
           SSA Weekly meeting with receiver and team.                          1.50           414.00
                                                                             276.00/hr
 3/21/2023 SGH Reviewed draft of response to Flack's fees and email            0.30           108.60
               regarding same.                                               362.00/hr
 3/27/2023 SGH Participated in the weekly receiver team call.                  0.50           181.00
                                                                             362.00/hr
           SSA   Weekly team meeting with Receiver and team.                   0.50           138.00
                                                                             276.00/hr
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                                                                       Hrs/Rate           Amount

 3/29/2023 SSA   Researched for personal identification for Mauricio       0.20             55.20
                 Chavez. Drafted email to Kierra Powell regarding        276.00/hr
                 same.

                 Subtotal                                                 42.80          14,093.00

             Claims Administration & Objections

 1/19/2023 SGH Reviewed issues for claims administration process           0.40            144.80
               and made recommendations regarding use of the             362.00/hr
               website and data when we receive from Salesforce.
 2/17/2023 SGH Reviewed the chart of sales agents and letter to the        0.70            253.40
               sales agents. Discussed the Salesforce database with      362.00/hr
               Scott Askue and plans to use the data to establish a
               claims process.

                 Subtotal                                                  1.10            398.20

             Data Analysis

  1/3/2023 SSA   Reviewed additional documents produced by Rapp            1.60            441.60
                 and Krock.                                              276.00/hr
           SSA   Reviewed and responded to email from Sonila Themeli       0.20             55.20
                 regarding review and download of data from employee     276.00/hr
                 and leader accounts.
  1/5/2023 SSA   Reviewed documents produced by Janette Gonzalez.          1.60            441.60
                                                                         276.00/hr
 1/12/2023 SGH Reviewed emails from Receiver Team regarding new            0.40            144.80
               documents produced in Kiteworks, Salesforce data,         362.00/hr
               and other matters.
           SSA Telephone call with SalesForce regarding access to          0.50            138.00
               data. Drafted email regarding same.                       276.00/hr
 1/19/2023 DAB Researched Relativity for information on Chavez'            1.30            221.00
               Apple Mini-Mac computer.                                  170.00/hr
 1/20/2023 DAB Reviewed and researched purchased computer                  0.80            136.00
               inventory list and verified. Drafted updated list of      170.00/hr
               computers for the determination of company
               purchased IT equipment and Apple Mini Mac computer
               purchase.
 1/23/2023 SSA Reviewed investor report from Gloria Castaneda.             1.10            303.60
               Drafted email to Sonila Themeli regarding initial         276.00/hr
               comments.
 1/24/2023 DAB Reviewed Relativity and researched information              1.20            204.00
               technology inventory purchases. Reviewed several          170.00/hr
               invoice and receipts for the determination of company
               owned devices. Continued to review documentation
               and WhatsApp communications from Relativity
               database.
           SSA Reviewed and replied to email from Sonila Themeli           0.20             55.20
               regarding review of Salesforce data.                      276.00/hr
 1/25/2023 SSA Reviewed leader data provided by Gloria Castaneda.          2.90            800.40
               Prepared analysis of same and summary of                  276.00/hr
               distribution of funds received.
 1/26/2023 DAB Continued to research Relativity database for company       2.80            476.00
               purchased computers. Updated schedule of                  170.00/hr
               computers and drafted inventory summary to Greg
               Hays and Scott Askue. Verified purchase of six
               additional business computers and continued
               researched of Chavez Apple Mac Mini computer.
               Researched Relativity for Adam Security invoices and
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                                                                          Hrs/Rate          Amount

               documentation. Printed invoices and drafted email to
               Receiver's counsel regarding potential contact
               information.
 1/27/2023 SGH Reviewed new documents produced in Kiteworks.                  0.90           325.80
                                                                            362.00/hr
  2/1/2023 SSA Reviewed and provided initial comments on leader               0.30            82.80
               report provided by Elizabeth Escoto.                         276.00/hr
           SSA Reviewed documents provided by PRWCSWTX and                    2.20           607.20
               drafted mails regarding tracing of crypto payments and       276.00/hr
               analysis of same. Reviewed defendants' records
               regarding same.
  2/2/2023 SSA Reviewed report provided by Roberto Zavala and                 1.50           414.00
               drafted comments on findings.                                276.00/hr
  2/3/2023 SSA Formatted Salesforce extracted data for further                4.50          1,242.00
               analysis. Studied various reports for recreation of data     276.00/hr
               in additional format.
  2/6/2023 DAB Reviewed and responded to email from Sonila Themeli            2.40           408.00
               regarding research of RingCentral phone numbers for          170.00/hr
               identification of additional insiders. Reviewed idiCore
               reverse phone directory for information. Reviewed
               Relativity for data consisting of RingCentral phone
               numbers.
           SSA Reviewed and emailed Sonila Themeli and Arlen                  0.40           110.40
               Tanner regarding Salesforce data and processing of           276.00/hr
               same.
  2/7/2023 SSA Set up and accessed Salesforce account. Reviewed               3.40           938.40
               available data. Prepared report of investor date. Video      276.00/hr
               Conference with Levi Percy, Arlen Tanner and Sonila
               Themeli regarding extraction of data, creation of
               database and other issues with the data.
 2/15/2023 SSA Reviewed and prepared reports from Salesforce.                 4.30          1,186.80
               Compared report results to paper statements and              276.00/hr
               leader documents. Exported data and compared to
               extracted .csv data.
 2/16/2023 SSA Designed and prepared reports of investor earnings,            5.30          1,462.80
               bonus and commission reports in Salesforce by year.          276.00/hr
               Tested data for completeness against paper
               investment contracts and spreadsheets. Drafted email
               to Arlen Tanner regarding same. Compared individual
               investor
 2/17/2023 SGH Reviewed new documents uploaded in Kiteworks.                  0.60           217.20
                                                                            362.00/hr
           SSA Drafted emails to and reviewed emails from Arlen               3.80          1,048.80
               Tanner regarding restrictions in Salesforce access.          276.00/hr
               Formatted and combined exported Salesforce csv raw
               data for creation of database.
 2/21/2023 SGH Reviewed data of 35,000 investors from Salesforce.             0.50           181.00
               Discussed issues in the data with Scott Askue.               362.00/hr
               Reviewed email regarding the Illinois data for
               production
 2/27/2023 SSA Reviewed productions from JP Morgan, Bank of                   1.30           358.80
               America and others. Prepared notes and documents             276.00/hr
               of interest.
  3/2/2023 SSA Drafted email to and reviewed emails from Sonila               0.40           110.40
               Themeli regarding SalesForce data and use of same.           276.00/hr
               Reviewed issues and testing of same.
  3/7/2023 SSA Drafted email to Sonila Themeli regarding review of            0.30            82.80
               Salesforce data.                                             276.00/hr
 3/10/2023 SSA Downloaded, restore and reviewed reports from                  1.20           331.20
               Salesforce.                                                  276.00/hr
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                                                                             Hrs/Rate           Amount

 3/21/2023 SGH Reviewed new documents posted in Kiteworks and                    1.10            398.20
               check for Benvenuto. Drafted email to Scott Askue               362.00/hr
               and Sonila Themeli regarding $230,000 checks from
               Ebenezer Construction. Reviewed other documents
               produced from sales agents and uploaded to
               Kiteworks.
           SGH Continued to review new documents posted in                       0.60            217.20
               Kiteworks.                                                      362.00/hr
 3/28/2023 SGH Reviewed new data uploaded in Kiteworks.                          0.70            253.40
                                                                               362.00/hr
           SSA   Reviewed production from Netspend. Researched                   0.60            165.60
                 issues raised by production. Drafted email regarding          276.00/hr
                 same.
 3/30/2023 SGH   Reviewed the Google files that were uploaded to                 0.90            325.80
                 Relativity for information on sales leaders and BTC.          362.00/hr
           SGH   Reviewed additional Google files and sent email to              1.10            398.20
                 Sonila Themeli regarding the passwords for the email          362.00/hr
                 accounts.
 3/31/2023 SGH   Reviewed documents uploaded to Kiteworks. Email                 0.70            253.40
                 regarding Zelle payments.                                     362.00/hr
           SGH   Continued to reviewed documents from the Google                 2.50            905.00
                 Drive. Corresponded with Sonila Themeli and Levi              362.00/hr
                 Percy and Scott Askue regarding issues on the data
                 and the "takedown drive." Emailed regarding the fact
                 that there is a main drive and we do not have access
                 to all of records we need for leaders and sales agents.
           DAB   Reviewed and responded to several emails from Greg              2.40            408.00
                 Hays, Levi Percy, Sonila Themeli and Scott Askue              170.00/hr
                 regarding access to Google Drive, specific downloads,
                 and research in Relativity for information regarding
                 investor Bitcoin transactions. Continued to research
                 Relativity to identify transactions, investor detail, and
                 leader Bitcoin accounts.
           SSA   Reviewed leader findings and drafted email to the               0.60            165.60
                 Receiver and Sonila Themeli regarding available               276.00/hr
                 leader information transaction information and need to
                 additional information on the CryptoFX Google drive.
           SSA   Reviewed and responded to emails from Arlen Tanner              0.20             55.20
                 and Sonila Themeli regarding continued use of                 276.00/hr
                 Salesforce.

                 Subtotal                                                       59.30          16,071.40

             Employee Benefits / Pensions

 1/12/2023 SSA Compiled employee contact and other informational                 1.40            386.40
               data. Drafted email to Sonila Themeli regarding same.           276.00/hr
           DAB Reviewed and responded to emails from Sonila                      0.30             51.00
               Themeli and Greg Hays regarding research for                    170.00/hr
               security guard (Adam) information. Researched
               idiCore for relative information.
 1/19/2023 DAB Reviewed Generad Serrano information for Adam in                  0.50             85.00
               security contact information. Researched IdICore and            170.00/hr
               Relativity for addition multiple references.
 1/25/2023 DAB Researched Relativity for information regarding Adam              0.40             68.00
               in security and payments to security professionals.             170.00/hr
               Researched security company information for Adam
               contact information.
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                                                                            Hrs/Rate          Amount

 1/27/2023 SGH Reviewed email from Dwaine Butler regarding his                  0.60           217.20
               research regarding Chavez security team. Researched            362.00/hr
               information regarding the security teams and searched
               for last names of Adam and Joseph as we need to
               identify and interview.
           DAB Continued Relativity and IdiCore research for Adam               1.20           204.00
               Security contact information. Reviewed several                 170.00/hr
               idiCore searches for Adan and Adam Garcia.
               Reviewed provided phone number and researched via
               phone information. Reviewed investor list and call
               detail report for information.
  2/1/2023 DAB Reviewed and responded to emails from Sonila                     0.20            34.00
               Themeli and Scott Askue regarding discovery of Adam            170.00/hr
               Security information.
  2/3/2023 DAB Reviewed and responded to email from Greg Hays                   0.30            51.00
               regarding additional information on employee phone             170.00/hr
               numbers. Reviewed database and compared to
               current list.
  2/7/2023 DAB Researched idiCore for Adan Security personnel                   0.20            34.00
               contact information.                                           170.00/hr
  2/8/2023 DAB Continued to review emails from Relativity and                   0.60           102.00
               documentation of employee W-2 forms for                        170.00/hr
               determination of addresses.

                  Subtotal                                                      5.70          1,232.60

              Fee / Employment Applications & Objection

  1/3/2023 SGH Reviewed issues for the upcoming fee application and             0.80    NO CHARGE
               researched recent fee application in SEC cases in              362.00/hr
               Texas. Drafted an email to Receiver and Sonila
               Themeli regarding a fee application in Arise Bank
               Texas case and sample fee application. Began
               reviewing time entries for HFC fee application.
  1/9/2023 SSA Reviewed and edited fee invoice for upcoming fee                 1.20    NO CHARGE
               application.                                                   276.00/hr
 1/10/2023 SGH Edited time for fee application.                                 1.00    NO CHARGE
                                                                              362.00/hr
 1/11/2023 SGH Reviewed and edited time and coded all time entries              2.00    NO CHARGE
               for consistency for the fee application.                       362.00/hr
 1/12/2023 SGH Reviewed issues for the fee application and drafted an           0.60    NO CHARGE
               email to Receiver and Sonila Themeli recommending              362.00/hr
               certain issues to include in the fee application including
               references to: First Interim Report and Motion for
               Contempt. Recommended Bios be included and the
               graphs of the total amount of fraud of and post TRO
               activity.
           SSA Worked on fee application issues.                                0.80    NO CHARGE
                                                                              276.00/hr
 1/13/2023 SGH Prepared Exhibits for fee applications.                          0.70    NO CHARGE
                                                                              362.00/hr
 1/17/2023 SGH Reviewed draft of the Receiver's First Fee Application           0.50    NO CHARGE
               and provided edits and comments regarding the work             362.00/hr
               accomplished during the fee application period.
           SGH Researched information to included in the fee                    0.40    NO CHARGE
               application and drafted language regarding the                 362.00/hr
               Johnson factors.
 1/19/2023 SGH Reviewed receiver efforts and drafted issues for use in          0.40    NO CHARGE
               fee application.                                               362.00/hr
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                                                                          Hrs/Rate          Amount

 1/24/2023 SGH Reviewed draft of the fee application and provided             0.30    NO CHARGE
               comments.                                                    362.00/hr
           SSA Reviewed fee application.                                      0.50    NO CHARGE
                                                                            276.00/hr
 2/21/2023 SGH Reviewed and edited fee order. Drafted email to                1.20    NO CHARGE
               Receiver and Sonila Themeli regarding draft of order         362.00/hr
               and issues for concern. Researched additional
               language regarding fee cap imposed by SEC for 60
               days on this estimated $400 million Ponzi scheme.
           SGH Additional review and analysis of total fees for the fee       1.90    NO CHARGE
               application. Calculated blended hourly rate for              362.00/hr
               Receiver Team for fee application and drafted email
               regarding same. Verified figures. Drafted email to
               Sonila Themeli and Receiver. Additional analysis
               regarding the fee cap and holdback.
 2/22/2023 SGH Review and analysis in connection with the first fee           1.20    NO CHARGE
               application. Updated analysis of fee. Call to Sonila         362.00/hr
               Themeli regarding the fee application. Edited the drafts
               of the application and order regarding the 60 Day fee
               cap and holdback issues.
 2/23/2023 DAB Reviewed Receiver's Interim Fee Application.                   0.40    NO CHARGE
               Discussed issue with Greg Hays regarding preparation         170.00/hr
               of second fee application.
 3/20/2023 DAB Reviewed idiCore invoice and confirmed billing to              0.20    NO CHARGE
               include in Fee Application.                                  170.00/hr

                  Subtotal                                                   14.10             0.00

             Forensic Accounting

  1/5/2023 SGH Conference call with James Daniels, Kevin Duberstein           0.80           289.60
               of Blocktrace and Scott Askue. Discussed plans for           362.00/hr
               forensic accounting analysis of the Coinbase data and
               tracing the crypto currencies purchased.
           SGH Reviewed crypto search terms. Researched                       3.50          1,267.00
               information in Relativity on the search terms provided       362.00/hr
               by BlockTrace. Corresponded with Levy Percy
               regarding the search terms and set up search.
               Reviewed data regarding National Bitcoin ATM and
               drafted email regarding same. Continued to research
               data of various crypto currencies to locate the data to
               trace the funds. Uploaded documents to a Box share
               file secure account to share with James Daniels and
               Kevin Duberstein.
           SSA Telephone call to with James Daniel and Kevin                  1.50           414.00
               Duberstein of Blocktrace regarding review of crypto          276.00/hr
               transactions. Drafted email to Sonila Themeli
               regarding engagement of same. Reviewed for
               available crypto records.
  1/6/2023 SGH Updated document to the BOX share filed for                    2.50           905.00
               BlockTrace to investigate the crypto transactions.           362.00/hr
               Reviewed document provided by SEC and others and
               posted to the website. Drafted email to Scott Askue
               regarding index to SEC production. Continued to
               review crypto documents and researched Relativity.
           SSA Drafted emails to Blocktrace and responded to email            0.50           138.00
               from same regarding issues for engagement. Edited            276.00/hr
               and commented on engagement agreement.
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                                                                          Hrs/Rate          Amount

  1/9/2023 SGH Reviewed new information uploaded for any crypto               5.00          1,810.00
               data. Corresponded with Crypto investigators at              362.00/hr
               BlockTrace.
 1/12/2023 SSA Gathered data relating to additional crypto transactions       0.70           193.20
               and updated for review. Drafted email to James Daniel        276.00/hr
               and Kevin Duberstein regarding same.
 1/17/2023 SGH Conference call with James Daniels, Kevin Duberstein,          0.60           217.20
               and Scott Askue crypto currency issues and liquidation       362.00/hr
               of account and trading profits from the Coinbase
               account. Drafted email to James Daniels and Kevin
               Duberstein regarding crypto matters and reported
               profits.
           SSA Conference call with James Daniels, Kevin Duberstein           0.50           138.00
               of BlockTrace and Greg Hays regarding analysis of            276.00/hr
               accounts and other crypto issues.
 1/20/2023 SGH Researching issues regarding cryptocurrency trading.           0.60           217.20
                                                                            362.00/hr
           DAB Reviewed report form Blocktrace on Crypto tracing.             0.60           102.00
               Searched Relativity for two wallets mentioned. Drafted       170.00/hr
               email to James Daniels, Kevin Duberstein and Scott
               Askue regarding same.
 1/23/2023 SGH Review and analysis in response to James Daniels               0.90           325.80
               email regarding Coinbase. Drafted several email to           362.00/hr
               James Daniels.
 1/24/2023 SSA Analyzed issues relating to value of Julio Taffinder's         0.40           110.40
               wallet as of 12/31/22.                                       276.00/hr
 1/30/2023 SSA Performed initial review of BlockTrace analysis of             0.70           193.20
               crypto trading by CryptoFX.                                  276.00/hr
 1/31/2023 SSA Completed review of report prepared by Blocktrace.             1.10           303.60
               Drafted email to same regarding various issues.              276.00/hr
  2/2/2023 SGH Microsoft Teams conference with Kevin Duberstein               0.50           181.00
               and Scott Askue regarding Binance and SquareUp               362.00/hr
               crypto wallets. Email to Sonila Themeli regarding
               same.
           SSA Conference call with Blocktrace regarding crypto               0.30            82.80
               transactions.                                                276.00/hr
 2/10/2023 SGH Reviewed and responded to emails regarding crypto              0.70           253.40
               transaction with Kevin Duberstein and Scott Askue            362.00/hr
               (.4). Emails to Sonila Themeli regarding crypto and
               other pending matters (.3).
 2/15/2023 SSA Drafted email to Kevin Duberstein regarding Binance            0.20            55.20
               transactions.                                                276.00/hr
 2/22/2023 SSA Drafted email to Kevin Duberstein of Blocktrace                0.30            82.80
               regarding transfer to Nano Ledger and access to same.        276.00/hr
 2/24/2023 SGH Reviewed information regarding Binance, Metadex and            0.60           217.20
               Safe Pal. Corresponded with Kevin Duberstein                 362.00/hr
               regarding same and funds from Coinbase to Binance.
           DAB Researched Binance, Metadex, and SafePal for the               1.20           204.00
               determination of additional assets and transactions.         170.00/hr
               Reviewed and responded to emails from Greg Hays
               regarding same.
           SSA Reviewed and uploaded data to shared drive and                 0.50           138.00
               drafted email to Blocktrace regarding Binance                276.00/hr
               response.
 2/27/2023 SSA Reviewed for crypto transactions with Gustavo Gomez.           0.60           165.60
               Drafted email to BlockTrace regarding same.                  276.00/hr
           DAB Reviewed email from Greg Hays regarding Binance                0.90           153.00
               and Metadex transaction research. Reviewed                   170.00/hr
               Relativity for information regarding tracking of
               payments via SafePal and Binance.
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                                                                           Hrs/Rate           Amount

  3/6/2023 SSA   Uploaded files for research of crypto transactions with       0.40            110.40
                 Gustavo Gomez. Drafted email to Blocktrace                  276.00/hr
                 regarding same.
  3/7/2023 SSA   Researched for and compiled documents relating to             1.90            524.40
                 accounts and backup of Crypto exchange trades.              276.00/hr
           DAB   Reviewed Relativity portal for Coinbase and Binance           0.80            136.00
                 transactions. Researched various Metadex and                170.00/hr
                 Binance searches for money order transactions.
 3/21/2023 SSA   Researched for payments received by CBT from                  1.50            414.00
                 investors. Traced uses of funds.                            276.00/hr
 3/28/2023 SGH   Reviewed issues regarding crypto accounts.                    0.50            181.00
                 Corresponded with James Daniels regarding several           362.00/hr
                 issues and liquidating the nano account.
 3/30/2023 SGH   Prepared summary of BTC purchases and sent email              1.40            506.80
                 to James Daniels and Kevin Duberstein of Blocktrace         362.00/hr
                 regarding the $400K in BTC investors payments in
                 July 2020.
           DAB   Reviewed several emails from Greg Hays regarding              2.20            374.00
                 Bitcoin earning schedule and tracking of Bitcoin            170.00/hr
                 transactions. Reviewed Relativity and searched for
                 information on Bitcoin deposit activity.

                 Subtotal                                                     34.40          10,403.80

             Litigation Consulting

  1/3/2023 SGH Researched issues regarding the Document                        0.40            144.80
               Depository and drafted email to Receiver and Sonila           362.00/hr
               Themeli regarding such an arrangement in a Arizona
               case.
           SGH Reviewed issues regarding claims against Sales                  0.50            181.00
               Agents and drafted email to Sonila Themeli and                362.00/hr
               Receiver.
  1/4/2023 SGH Researched issues regarding claims against Sales                0.40            144.80
               Agent and Document Depository. Reviewed email                 362.00/hr
               from Sonila Themeli regarding pending matters and
               responded.
  1/5/2023 SSA Reviewed defendant records for documents                        1.50            414.00
               associated with Tony Lemos for interview of same.             276.00/hr
  1/6/2023 SGH Research regarding claims against Sponsors /                    2.50            905.00
               Leaders / Sales Agents. Updated the list of sale              362.00/hr
               agents prepared by Dwaine Butler. Researched
               additional information on sales agents in Relativity.
               Updated list and drafted email to Sonila Themeli and
               Receiver regarding mailing a demand letter to all 72
               "leaders"
           SSA Continued review of defendant records for documents             4.20           1,159.20
               associated with Tony Lemos. Prepared as exhibits for          276.00/hr
               interview. Prepared index and comments on same.
 1/10/2023 SGH Emails with Sonila Themeli on plans regarding                   0.30            108.60
               pursuing the Sales Agents.                                    362.00/hr
 1/12/2023 SGH Reviewed Defendant's subpoena for receivership                  2.50            905.00
               records. Researched issues and pleading from other            362.00/hr
               receiver case regarding producing documents to
               Defendants in electronic database. Reviewed issues
               regarding privacy concerns. Downloaded documents
               and procedures from NAFER web site. Drafted email
               to Receiver Team regarding issues in other receiver
               cases and prepared an outline of recommended
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                                                                          Hrs/Rate          Amount

               objections and procedures given the tens of thousands
               of pages of documents as discussed in the Receiver's
               First Interim Report.
 1/13/2023 SGH Updated the graphs of total sales activity of over $300        0.60           217.20
               million and the post TRO activity. Drafted email to          362.00/hr
               Kierra Powell, Sonila Themeli and Receiver regarding
               same.
 1/16/2023 SGH Drafted the Ponzi Scheme expert report. Reviewed               6.00          2,172.00
               case law and reviewed and organized document to              362.00/hr
               attach to the report. Drafted language regarding the
               Ponzi presumption and funds in bank account at time
               of receiver's appointment. Reviewed complaint and
               Carol Hand Declaration and added information
               regarding the crypto trading profits of $1.5 million and
               compared to total funds raised. Began organizing
               supporting documents. Spent all day on this matter on
               holiday without interruption.
           SSA Reviewed case documents for interview of Ana Munoz.            3.80          1,048.80
                                                                            276.00/hr
 1/17/2023 SGH Reviewed issues regarding Defendants request for               0.40           144.80
               access to all documents and drafted email to Sonila          362.00/hr
               Themeli regarding same.
           SGH Updated the draft of the Ponzi report. Added language          0.80           289.60
               on crypto to the Ponzi report.                               362.00/hr
           SGH Reviewed Response to Receiver's Motion to Show                 0.60           217.20
               Cause. Considered issues to address in the Ponzi             362.00/hr
               report.
           SGH Updated the Ponzi report with quotes regarding the             1.20           434.40
               office management from the Response to Receiver's            362.00/hr
               Motion to Show Cause.
           SSA Compiled documents for interview of Ana Munoz.                 2.60           717.60
               Drafted email to Sonila Themeli regarding same.              276.00/hr
 1/18/2023 SGH Spent the entire day working and updating the Ponzi            7.00          2,534.00
               scheme expert report reviewed the Hahn declaration           362.00/hr
               and added information. Reviewed the Flack response
               and added information regarding the business
               operation.
           SGH Reviewed and responded to Sonila Themeli regarding             0.80           289.60
               Receiver's Reply Brief to the Response filed by Flack        362.00/hr
               to Motion to Show Cause. Considered issues and
               drafted response.
 1/19/2023 SGH Review and analysis of the outstanding obligations of          2.00           724.00
               CFX given the terms of the contract. Reviewed and            362.00/hr
               discussed issues with Scott Askue. Reviewed analysis
               of daily investments and considered format for
               analysis for Ponzi report.
 1/26/2023 SGH Reviewed draft of Motion to Show Cause and provided            0.80           289.60
               comments regarding computers CFX acquired and                362.00/hr
               waiver of privilege to obtain Chavez computer.
 1/27/2023 SGH Reviewed and researched additional information for             0.40           144.80
               response to Chavez regarding Motion to Show Cause.           362.00/hr
               Provided edits regarding waiver of privilege.
 1/30/2023 SGH Reviewed the BlockTrace report on crypto trading and           0.60           217.20
               considered issues for the Ponzi report. Drafted              362.00/hr
               language for quarterly report.
 1/31/2023 SGH Reviewed and consider plans to purse the sales                 2.50           905.00
               agents. Researched the Stanford case and the                 362.00/hr
               litigation against the 300 advisors that were added as
               Relief Defendants. Retrieved documents from the
               docket regarding issues in the litigation and drafted
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                                                                               Hrs/Rate          Amount

                 email to Receiver team regarding issues and the
                 recoveries the case over a 10 year period. Retrieved
                 language for use in CFX case against sales agents.
  2/2/2023 SGH   Reviewed and responded to email from Sonila Themeli               0.40           144.80
                 regarding litigation plan.                                      362.00/hr
  2/6/2023 SSA   Reviewed and commented on Sur-Reply in opposition                 0.50           138.00
                 to Receiver's motion to show cause.                             276.00/hr
  2/7/2023 SSA   Continued review of records and coding of documents               3.30           910.80
                 for interview with former employee Cindy Mezemo.                276.00/hr
  2/8/2023 SSA   Prepared for and attended interview of Cindy Mezomo.              2.50           690.00
                 Drafted notes and questions or same.                            276.00/hr
  2/9/2023 SGH   Reviewed banking laws on MSA and money orders.                    0.60           217.20
                 Considered issues. Drafted email regarding referral of          362.00/hr
                 PLS to Texas Banking Department to determine
                 reporting requirements.
 2/13/2023 SGH   Reviewed issues regarding sale agent litigation and               0.40           144.80
                 emails regarding same.                                          362.00/hr
 2/14/2023 SGH   Conference call with Sonila Themeli and Scott Askue               0.50           181.00
                 regarding litigation strategy and claims against sales          362.00/hr
                 agents and net winners. Discussed the Zeek Rewards
                 model for the class action for all claims and pursuing
                 on a contingent fee.
           SSA   Telephone conference with Sonila Themeli and Greg                 0.40           110.40
                 Hays regarding litigation strategy.                             276.00/hr
 2/20/2023 SGH   Telephone call to Sonila Themeli regarding litigation             0.50           181.00
                 strategy and filing the Ponzi scheme expert report.             362.00/hr
                 Discussed issues in completing the report and using
                 the Salesforce data and report from crypto experts to
                 clearly show the case was a Ponzi scheme. Discussed
                 the case law and recent decision.
 2/21/2023 SSA   Prepared account data from Salesforce for production              1.10           303.60
                 to the Illinois Secretary of State's office. Drafted emails     276.00/hr
                 to Receiver team regarding same.
           SGH   Reviewed and researched additional documents for                  2.00           724.00
                 Ponzi expert report. Reviewed issues and information            362.00/hr
                 regarding office procedures and cash administration.
                 Updated sections of report and searched Relativity for
                 documents.
 2/22/2023 SGH   Reviewed information regarding Gustavo Gomez and                  0.80           289.60
                 issues for interview. Reviewed Transfer Agreement               362.00/hr
                 and $600,000 agreement. Drafted email to Kevin
                 Duberstein regarding the transfer of $500,000 in
                 cryptos per the WhatsApp exchange before June 2021.
           SGH   Researched information for the Ponzi scheme expert                0.60           217.20
                 report.                                                         362.00/hr
           SSA   Researched for information on Gustavo Gomez and                   1.30           358.80
                 documents supporting issues relating to same for                276.00/hr
                 interview.
 2/24/2023 SGH   Reviewed 5th circuit case law on Ponzi schemes and                0.50           181.00
                 reviewed draft of report on Ponzi schemes and cases             362.00/hr
                 to add to the report.
 2/28/2023 SGH   Reviewed information regarding PLS claim.                         0.30           108.60
                                                                                 362.00/hr
           SGH Responded to email from James Daniels regarding                     0.30           108.60
               PLS issues.                                                       362.00/hr
 3/13/2023 SSA Researched for information relating to Quest Trust                  0.40           110.40
               document request. Drafted email to Sonila Themeli                 276.00/hr
               regarding same.
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                                                                        Hrs/Rate           Amount

 3/22/2023 SSA Telephone call from Sonila Themeli regarding                 0.80            220.80
               estimated investors and investments and daily cash         276.00/hr
               flow as reported by CryptoFX in preparation for Show
               Cause hearing.
 3/23/2023 SSA Reviewed and responded to Sonila Themeli's                   0.20             55.20
               summary of show cause hearing.                             276.00/hr
 3/31/2023 SGH Reviewed status of the Ponzi report and considered           0.80            289.60
               information to add regarding the Bitcoin payments by       362.00/hr
               investors during 2022.

                 Subtotal                                                  60.60          19,993.60

             Status Reports

 1/23/2023 SGH Updated analysis of the chart of BTC price versus the        0.80            289.60
               funds raised by CFX for the upcoming report.               362.00/hr
 1/24/2023 SGH Prepared an analysis and affidavit regarding the funds       1.50            543.00
               raised by CFX and the price of BTC. Updated the chart      362.00/hr
               of from 11/1/22 to 9/28/22. Explained the Chart in an
               Affidavit. Emails with Kierra Power and Sonila Themeli
               regarding same.
 1/25/2023 SGH Updated graph and finalized the Affidavit to attach to       0.90            325.80
               the Second Interim Report.                                 362.00/hr
 1/27/2023 SGH Drafted outline for Receiver's Second Interim Report         0.40            144.80
               and email to Sonila Themeli.                               362.00/hr
           SGH Telephone call to Sonila Themeli regarding Second            0.40            144.80
               Interim Report.                                            362.00/hr
 1/30/2023 SGH Reviewed and edited the Quarterly Report.                    1.50            543.00
               Researched issues to add to the report. Corresponded       362.00/hr
               with Sonila Themeli regarding issues for the report.
 1/31/2023 SGH Reviewed and edited second status report.                    0.80            289.60
               Researched information for the report and added.           362.00/hr
               Discussed pending issues with Scott Askue.
           SSA Reviewed and edited Receiver's Second Interim                1.60            441.60
               Report.                                                    276.00/hr
           SSA Prepared updated asset and recovery analysis for             0.60            165.60
               Second Interim Report.                                     276.00/hr
 2/25/2023 SGH Reviewed status of research by Blocktrace. Email with        0.60            217.20
               James Daniels regarding status of fees to date.            362.00/hr
               Drafted email to receiver regarding status and fees to
               date. Email to James Daniels regarding report to file
               with Receiver's Interim Report.
 3/28/2023 SGH Reviewed information for the quarterly report on BTC         0.40            144.80
               transactions.                                              362.00/hr

                 Subtotal                                                   9.50           3,249.80

             Tax Issues

 1/24/2023 SSA   Prepared IRS forms 8809 for Receiver's signature to        1.20            331.20
                 extend timing to file 1099s.                             276.00/hr
 1/26/2023 SSA   Researched for tax id number for defendants and            1.00            276.00
                 related entities.                                        276.00/hr
 2/19/2023 JRJ   Prepared Federal extension for year ended 12/31/2022       0.40            110.40
                 for CBT Group LLC. Electronically filed extension.       276.00/hr
           JRJ   Prepared Federal extension for year ended 12/31/2022       0.60            165.60
                 for Crypto FX LLC. Electronically filed extension.       276.00/hr
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                                                                         Hrs/Rate          Amount

 2/21/2023 JRJ   Researched IRS e file rejects for 2022 extensions for       0.60           165.60
                 Crypto FX and CBT Group. Researched documents to          276.00/hr
                 confirm single member LLC status as disregarded
                 entities. Reviewed receiver Order. Discussed same
                 with Scott Askue and payroll tax filings.
          SSA    Telephone call from Jim Jennings regarding various          0.40           110.40
                 tax filing requirements, data and strategy for same.      276.00/hr
          SSA    Researched for documents supporting tax treatment of        0.50           138.00
                 CBT and CFX. Telephone call from Jim Jennings             276.00/hr
                 regarding same.
 2/27/2023 SSA   Prepared form 8809 extension for additional time to         0.30            82.80
                 prepare 1099s.                                            276.00/hr
 3/31/2023 SSA   Prepared letter to the IRS and Forms 8809 requesting        0.60           165.60
                 additional time to prepare W2s and 1099s. Drafted         276.00/hr
                 email to the Receiver regarding same.

                 Subtotal                                                    5.60          1,545.60

            For professional services rendered                             391.00      $102,809.40
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           EXHIBIT D
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            Additional Charges :

                                                                                                 Amount

              Expenses

 1/31/2023 IDI charges January 2023                                                               227.00
 2/24/2023 Tax software licensing fee for filing of bankruptcy estate returns (CryptoFX            35.00
           LLC).
           Tax software licensing fee for filing of bankruptcy estate returns (CBT).               35.00
 3/31/2023 IdiCore research and comprehensive reports invoice #475393.                             31.75

                   Subtotal                                                                       328.75

              Total costs                                                                        $328.75


              Total amount of this bill                                                      $103,138.15
